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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
     Plaintiff-Appellee,                   )
                                           )
     v.                                    )     No. 98 CR 434-9
                                           )    (USCA No. 07-2764)
MICHAEL BLACK,                             )
                                           )
     Defendant-Appellant.                  )

                               MEMORANDUM ORDER

     Michael Black (“Black”) is indefatigable--this Court’s

secretary has noted that this memorandum order is now saved on

her computer as “black30.”        This time Black’s attack on his 1999

sentence seeks to invoke Fed. R. Civ. P. 60(b)(4)1 on the premise

that the sentence was void because (copied verbatim):

     18 U.S.C. §3553 bestowed no statutory Authority on the
     District Court, the court’s Judgment and Committment
     Order were issued without Jurisdiction over the Subject
     Matter.

     Black is simply wrong.        It is difficult to maintain patience

with his persistent refusal to give heed to the repeated

explanations by this Court in its earlier opinions.               This current

motion is denied.

                               ________________________________________
                               Milton I. Shadur
                               Senior United States District Judge

Date:       October 11, 2007


        1
        Black’s heading of his current motion refers to that rule
as “Rule 60(b)(4) of the Federal Rules of Criminal Procedure,”
but both Black’s case caption and the text of his motion
correctly speak of the Rules of Civil Procedure.
